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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                         :        Chapter 11
                                                          :
The Bon-Ton Stores, Inc.                                  :        Case No. 18-10248 (MFW)
                                                          :
                                                          :        Jointly Administered
                                                          :        NOTICE OF APPOINTMENT OF
          Debtor(s).                                      :        COMMITTEE OF UNSECURED
----------------------------------                        :        CREDITORS



       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Estee Lauder Companies, Attn: Ray Darowski, 7 Corporate Center Drive, Melville, NY
                   11747, Phone: 631-847-8333; Fax: 631-847-8448

2.                 Keurig Green Mountain, Inc., Attn: Jaime Heins, 33 Coffee Lane, Waterbury, VT 05676,
                   Phone: 802-488-1772, Fax: 802-488-1812

3.                 Notations, Inc., Attn: Helen Schreiner, 539 Jacksonville Rd, Warminster, PA 18940, Phone:
                   215-259-2000, Ext 180

4.                 GGP Limited Partnership, Attn: Julie Minnick Bowden, 320 N. Orleans St, Suite 300,
                   Chicago, IL 60654-1607, Phone: 312-960-2707, Fax: 312-442-6374

5.                 Simon Property Group L.P., Attn: Ronald Tucker, 225 West Washington Street,
                   Indianapolis, IN 46204, Phone: 317-263-2346, Fax: 317-263-7901

6.                 Washington Prime Group, Inc., Attn: Stephen Ifeduba, 180 West Broad Street, Columbus,
                   OH 43215, Phone: 614-621-9000, Fax: 614-621-8863

7.                 Pension Benefit Guaranty Corporation, Attn: Thomas Taylor, 1200 K. Street, NW,
                   Washington, DC 20005-4026, Phone: 202-326-4000, Ext 3303, Fax: 202-326-4112




                                                  ANDREW R. VARA
                                                  Acting United States Trustee, Region 3


                                                  /s/ Mark Kenney and Brya Keilson for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: February 15, 2018

Attorney assigned to this Case: Mark Kenney and Brya Keilson, Esq., Phone: (302) 573-6491, Fax: (302)
573-6497
Debtors’ Counsel: Sean Greecher, Esq., Phone: (302) 302-571-6600
